8:05-cr-00094-LSC-FG3            Doc # 360   Filed: 03/27/07    Page 1 of 2 - Page ID # 1359




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED        STATES        OF    AMERICA,      )              CASE NO. 8:05CR94
                                                )
               Plaintiff,                       )
                                                )
               vs.                              )                    ORDER
                                                )
JUAN GARCIA,                                    )
                                                )
               Defendant.                       )

        This matter is before the Court on the motion to withdraw from representing the

Defendant on appeal (Filing No. 346) filed by Stefanie A. Martinez, and the following

motions filed by the Defendant, Juan Garcia: for leave to appeal in forma pauperis (Filing

No. 348); to proceed without payment of fees (Filing No. 357); and a supporting affidavit

filed as a “motion” (Filing No. 358). The Defendant has filed a notice of appeal (Filing No.

347).

        With respect to proceeding in forma pauperis on appeal, the Court concludes that

the Defendant has satisfied the requirements of Federal Rule of Appellate Procedure

24(a)(1).

        The motion to withdraw will be referred to the Eighth Circuit Court of Appeals.

        IT IS ORDERED:

        1.     The Defendant’s motion for leave to proceed in forma pauperis on appeal

(Filing No. 348) is granted;

        2.     The Defendant’s motion to proceed without payment of fees (Filing No. 357)

is granted;

        3.     The Clerk is directed to “terminate” the affidavit (Filing No. 358) as a pending

motion; and
8:05-cr-00094-LSC-FG3       Doc # 360     Filed: 03/27/07    Page 2 of 2 - Page ID # 1360




       4.     The motion to withdraw from representing the Defendant on appeal (Filing No.

346) filed by Stefanie A. Martinez is referred to the Eighth Circuit Court of Appeals.

       DATED this 27th day of March, 2007.

                                                 BY THE COURT:

                                                 S/Laurie Smith Camp
                                                 United States District Judge
